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UNITED STATES DISTRICT COURT
DISTRICT OF RHODE ISLAND

 

HANNA INSTRUMENTS, INC.,
Plaintiff/Counterclaim-Defendant,

V. Civil Action No. l:l7-cv-522-WES-PAS

BUS[NESS SOFTWARE ALLIANCE and
MICROSOFT CORPORATION,

Defendants/Counterclaim-Plaintiffs.

 

 

CONSENT JUDGMENT

 

It is hereby stipulated and agreed by and between plaintiff, Hanna Instruments, Inc. and
Defendants BSA Business Software Alliance, Inc. d/b/a BSA | The Sof`tware Alliance and

Microsoft Corporation, and after consideration by the Court, that Judgment shall enter forthwith

in this action as follows:

l. All claims and counterclaims of all parties shall be dismissed without prejudice; and

2. All parties shall bear its own costs and attorneys’ fees.

ENTER: PER ORDER:

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HANNA INSTRUMENTS, INC.,

By its attorneys,

/s/ Jodi-Ann McLane

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BSA BUSINESS SOFTWARE ALLlANCE,
INC. and MICROSOFT CORPORATION,

By their attomeys,

/s/ Joseph V. Cavanagh III
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